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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

IN RE: ORAL                                 )
PHENYLEPHRINE LITIGATION                    )      MDL No. _____
                                            )

                 PLAINTIFFS’ MOTION FOR TRANSFER OF
          ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED
               OR CONSOLIDATED PRETRIAL PROCEEDINGS

       Plaintiffs Erin Barton, Sam Gallo, Kimberly Buscaglia, and Francis Catanese

(“Movants”) respectfully move the Judicial Panel on Multidistrict Litigation (“Panel”), pursuant

to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Panel, to transfer the actions

listed in the attached Schedule of Actions and subsequent tag-along actions to the United States

District Court for the District of New Jersey, for coordinated or consolidated pretrial

proceedings.

Dated: September 18, 2023                   Respectfully Submitted,

/s/ James E. Cecchi                               /s/ Adam J. Levitt
James E. Cecchi                                   Adam J. Levitt
Donald A. Ecklund                                 John E. Tangren
Jordan M. Steele                                  Daniel R. Schwartz
CARELLA, BYRNE, CECCHI,                           DICELLO LEVITT LLP
  BRODY & AGNELLO, P.C.                           Ten North Dearborn Street, Sixth Floor
5 Becker Farm Road                                Chicago, Illinois 60602
Roseland, New Jersey 07068                        Telephone: (312) 214-7900
Telephone: (973) 994-1700                         alevitt@dicellolevitt.com
jcecchi@carellabyrne.com                          jtangren@dicellolevitt.com
decklund@carellabyrne.com                         dschwartz@dicellolevitt.com
jsteele@carellabyrne.com


/s/ Christopher A. Seeger                         /s/ Paul J. Geller
Christopher A. Seeger                             Paul J. Geller
David R. Buchanan                                 Stuart A. Davidson
Scott A. George                                   ROBBINS GELLER RUDMAN
SEEGER WEISS LLP                                    & DOWD LLP
55 Challenger Road, 6th Floor                     225 NE Mizner Boulevard, Suite 720
Ridgefield Park, New Jersey 07660                 Boca Raton, Florida 33432
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Telephone: (973) 639-9100                  Telephone: (561) 750-3000
cseeger@seegerweiss.com                    pgeller@rgrdlaw.com
dbuchanan@seegerweiss.com                  sdavidson@rgrdlaw.com
sgeorge@seegerweiss.com


                              Counsel for Movants




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